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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                            Chapter 11

             Peer Street, Inc.,                                Case No. 23-10815 (LSS)

                                           Debtor.


             In re:                                            Chapter 11

             Peer Street Opportunity Fund GP, LLC,             Case No. 23-10816 (LSS)

                                    Debtor.


             In re:                                            Chapter 11

             PS Funding, Inc.,                                 Case No. 23-10817 (LSS)

                                    Debtor.


             In re:                                            Chapter 11

             Peer Street Funding LLC,                          Case No. 23-10818 (LSS)

                                    Debtor.


             In re:                                            Chapter 11

             PeerStreet Licensing, Inc.,                       Case No. 23-10819 (LSS)

                                    Debtor.


             In re:                                            Chapter 11

             PSF REO LLC,                                      Case No. 23-10820 (LSS)


                                    Debtor.


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             In re:                                           Chapter 11

             PS Options LLC,                                  Case No. 23-10821 (LSS)

                                   Debtor.


             In re:                                           Chapter 11

             PS Warehouse, LLC,                               Case No. 23-10822 (LSS)

                                   Debtor.



             In re:                                           Chapter 11

             PS Warehouse II, LLC                             Case No. 23-10823 (LSS)

                                   Debtor.

                                                              Chapter 11
             In re:
                                                              Case No. 23-10824 (LSS)

             Peer Street Opportunity Investors II, LP,

                                   Debtor.

                                                              Chapter 11
             In re:
                                                              Case No. 23-10825 (LSS)
             PS Portfolio-ST1, LLC

                                   Debtor.


             In re:                                           Chapter 11

             PSF Ohio, LLC,                                   Case No. 23-10826 (LSS)

                                   Debtor.


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             In re:                                                     Chapter 11

             PSF TX 1, LLC,                                             Case No. 23-10827 (LSS)

                                      Debtor.


             In re:                                                     Chapter 11

             PSF TX 2, LLC,                                             Case No. 23-10828 (LSS)

                                      Debtor.


             In re:                                                     Chapter 11

             PSF TX 4 LLC,                                              Case No. 23-10829 (LSS)

                                      Debtor.



                             ORDER, PURSUANT TO BANKRUPTCY RULE 1015
                            AND LOCAL RULE 1015-1, AUTHORIZING THE JOINT
                          ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                            Upon consideration of the motion (the “Motion”)1 of the above-captioned debtors

         and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to

         Bankruptcy Rule 1015 and Local Rule 1015-1, authorizing the joint administration of the Debtors’

         chapter 11 cases for procedural purposes only; and upon consideration of the First Day

         Declaration; and due and proper notice of the Motion having been given; and it appearing that no

         other or further notice of the Motion is required except as otherwise provided herein; and it

         appearing that this Court has jurisdiction to consider the Motion in accordance with 28

         U.S.C. §§ 157 and 1334 and the Amended Standing Order; and it appearing that this is a core



         1
               Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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         proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and

         the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief

         requested in the Motion and provided for herein is in the best interest of the Debtors, their estates,

         and their creditors; and after due deliberation and sufficient cause appearing therefor, IT IS

         HEREBY ORDERED THAT:

                             1.       The Motion is GRANTED as set forth herein.

                             2.       The Debtors’ chapter 11 cases shall be consolidated for procedural purposes

         only and shall be jointly administered in accordance with the provisions of Bankruptcy Rule 1015

         and Local Rule 1015-1.

                             3.       The Clerk of the Court shall maintain one file and one docket for the

         Debtors’ chapter 11 cases, which file and docket shall be the file and docket for the chapter 11

         case of Debtor Peer Street, Inc., Case No. 23-10815 (LSS).

                             4.       All documents filed in the Debtors’ chapter 11 cases shall bear a

         consolidated caption in the following form:

                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             Peer Street, Inc., et al.1                                     Case No. 23-10815 (LSS)

                                       Debtors.                             (Jointly Administered)

         1
               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.




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                        5.      All original filings shall be captioned as indicated in the preceding decretal

         paragraph, and the Clerk of the Court shall make a docket entry in the docket of each of these

         chapter 11 cases (except for Peer Street, Inc.), substantially as follows:

                        An Order has been entered in this case directing the consolidation
                        and joint administration for procedural purposes only of the chapter
                        11 cases of Peer Street, Inc.; Peer Street Opportunity Fund GP, LLC;
                        PS Funding, Inc.; Peer Street Funding LLC; PeerStreet Licensing,
                        Inc.; PSF REO LLC; PS Options LLC; PS Warehouse, LLC; PS
                        Warehouse II, LLC; Peer Street Opportunity Investors II, LP; PS
                        Portfolio-ST1, LLC; PSF Ohio, LLC; PSF TX 1, LLC; PSF TX 2,
                        LLC; and PSF TX 4 LLC. The docket in the chapter 11 case of Peer
                        Street, Inc., Case No. 23-10815 (LSS), should be consulted for all
                        matters affecting this case.

                        6.      The caption as set forth in paragraph 4 shall satisfy the requirements of

         section 342(c)(1) of the Bankruptcy Code.

                        7.      Nothing in the Motion or this Order is intended or shall be deemed or

         otherwise construed as directing or otherwise effecting a substantive consolidation of the Debtors’

         estates.

                        8.      The Debtors are authorized to take any and all actions necessary to

         effectuate the relief granted herein.

                        9.      This Court shall retain jurisdiction with respect to all matters arising from

         or related to the implementation of this Order.




               Dated: June 28th, 2023                         LAURIE SELBER SILVERSTEIN
30502323.2     Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE
